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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF IOWA

 In re:                                        )       Chapter 11
                                               )
 QHC FACILITIES, LLC                           )       Case No. 21-01643-als11
                                               )       Affiliated Cases: 21-01644-21-01653
                                Debtor.        )
                                               )       U.S. TRUSTEE’S OBJECTION TO
 And Affiliated Cases                          )       DEBTORS’ MOTION FOR USE OF
                                               )       CASH COLLATERAL

          The Acting United States Trustee, through the undersigned Trial Attorney, files this

 Objection to Debtor, QHC Facilities, LLC, and Affiliate Cases 1 (collectively “Debtors”), motion

 authorizing Debtors to use of cash collateral and provide adequate protection to Lincoln Savings

 Bank (“Lincoln”)(the “Motion”) (doc. 12) pursuant to a 13-week budget. In support of his

 objection, the UST states as follows:

     1. On December 29, 2021, Debtors filed voluntary petitions under chapter 11 of title 11 of

 the United States Code.

     2. No committee of creditors has been formed.

     3. This Court approved interim use of cash collateral on January 4, 2022 and deferred final

 approval of cash collateral to a hearing on January 27, 2022.

     4. The Motion designates Lincoln as Debtors’ senior secured creditor in the aggregate

 amount of $9,292,663.90. Conversely, the Motion does not provide for any valuation of

 collateral. Debtors have further not filed schedules and statements in any case.

     5. Accordingly, as a general matter, the UST’s objects to the adequate protection relief




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  QHC Management, LLC 21-01644; QHC Mitchellville, LLC 21-01645; QHC Winterset North,
 LLC 21-01646; QHC Madison Square, LLC 21-01647; QHC Fort Dodge Villa, LLC 21-01648;
 QHC Crestridge, LLC 21-01649; QHC Crestview Acres, Inc. 21-01650; QHC Humboldt North,
 LLC 21-01651; QHC Humboldt South, LLC 21-01652; QHC Villa Cottages, LLC 21-01653.
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 proposed as it is impossible to (1) evaluate the status of Lincoln as oversecured or undersecured;

 and, (2) determine the necessity and extent of Lincoln’s entitlement to adequate protection.

    6. At paragraph 8(a), the motion grants Lincoln a “validly perfected first priority lien on and

 security interest in the Debtors’ post-petition cash collateral which primes all existing valid,

 perfected and superior liens in the Prepetition Collateral…”

            a. Parties in interest cannot determine the appropriateness of such protection without

                a review of Debtors’ schedules and statements, including the identity of all

                secured and other creditors.

            b. This provision should not be approved until all parties in interest may examine all

                schedules and statements and have an opportunity to object.

    7. At paragraph 8(f) and (g), it appears that in any event, Debtors will be obligated to pay to

 Lincoln a lump sum $100,000 payment in addition to post-petition monthly interest only

 payments at the rate of 4.25%. The payment is triggered either by a “Disposition Event” (sale of

 substantially all of Debtors’ assets), or a whole host of what are defined as a “Termination

 Event” if not cured within two days of such event.

    8. Debtors provide no basis for such relief, especially where Lincoln appears to be already

 substantially protected. On its face, the payment could be interpreted as a substitute or assurance

 for the payment of Lincoln’s attorney fees. Such relief contradicts the specific parameters of the

 entitled fees and costs afforded secured creditors under section 506. The Motion is based on a

 13-week budget. Lincoln clearly reserves the right to seek additional protection depending on

 the posture of the case at the expiration of the 13-week budget.

    9. The UST objects to the proposed Carve-Out as defined in paragraph 8(b) as insufficient

 under the circumstances of the case, particularly with respect to the appointed patient care



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 ombudsman (“PCO”). It is readily apparent that Debtors are approaching administrative

 insolvency in a matter of weeks. Unless an intended purchaser of Debtors’ assets is secured

 under the same timeline, the life of these cases is doubtful. At the same time, it will be necessary

 for the statutorily appointed PCO to fulfill her obligations, including visiting the locations,

 evaluation, and reporting on the various facilities located throughout Iowa. Debtors should

 commit to a retainer sufficient to cover PCO Goodman’s initial costs to visit and evaluate the

 facilities and an overall larger carve-out to pay fees incurred to meet her reporting requirements

 to the Court.

    10. At paragraph 12, Debtors propose to waive their right to “surcharge” Lincoln’s

 prepetition collateral under section 506(c). The right to surcharge should not be waived unless

 and until all costs of administering these chapter 11 estates has been adequately provided for.

 The elimination of the right to surcharge increases the risk that the costs of administration of this

 chapter 11 case will be borne by unsecured creditors, including administrative claimants. See

 Precision Steel Shearing v. Fremont Fin. Corp. (In re Visual Indus.), 57 F.3d 321, 325 (3d Cir.

 1995)(“[Section] 506(c) is designed to prevent a windfall to the secured creditor … The rule

 understandably shifts to the secured party … the costs of preserving or disposing of the secured

 party’s collateral, which costs might otherwise be paid from the unencumbered assets of the

 bankruptcy estate…”). The Eighth Circuit holds that “an agreement by a debtor and secured

 creditor to prohibit the payment of § 506(c) administrative expenses from the secured creditors’

 collateral would operate as a windfall to the secured creditor at the expense of administrative

 claimants. We therefore conclude that such a provision is unenforceable.” Hartford

 Underwriters Ins. Co. v. Magna Bank N.A. (In re Hen House Interstate, Inc.), 150 F.3d 868, 871

 (8th Cir. 1998), rev’d on other grounds, Hartford Underwriters Ins. Co. v. Magna Bank, N.A. In



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 re Hen House Interstate, Inc.), 177 F.3d 719 (8th Cir. 1999)(en banc), aff’d Hartford

 Underwriters Ins. Co v. Union Planters Bank, 530 U.S. 1 (2000).

    11. At paragraph 14, Debtors grant Lincoln with a lien on the proceeds of all of Debtors’

 claims and causes of action under (i) sections 502(d), 506(c), 544, 545, 547, 548, 550, and 553;

 (ii) under any applicable state Uniform Voidable Transactions Act, Uniform Fraudulent Transfer

 Act, Uniform Fraudulent Conveyance Act and similar statute or common law; and (iii) any

 commercial tort claims (collectively, the “Avoidance Actions”). Based on the information

 obtained by the UST, the proceeds of an intended sale of Debtors’ assets will not be sufficient to

 afford a distribution to general unsecured creditors. Thus, to allow Lincoln to solely benefit

 from the Avoidance Actions would result in a bankruptcy case(es) that benefits largely two

 parties, Debtors and the bank, which is inconsistent with the inherent purpose of reorganization

 under the Bankruptcy Code.

    12. Courts have consistently held that Avoidance Actions are uniquely for the benefit of

 general creditors of a chapter 11 estate, not secured creditors, and are rarely encumbered in favor

 of secured lenders. In re Tribune Co., 464 B.R. 126, 171 (Bankr. D. Del. 2011)(noting “that case

 law permits all unsecured creditors to benefit from avoidance action recoveries”). The intent

 behind avoidance powers and a debtor’s power to bring causes of actions is to allow the debtor-

 in-possession to gain recoveries for the benefit of all unsecured creditors. See Buncher Co., v.

 Official Comm. Of Unsecured Creditors of GenFarm Ltd. Partn. IV, 229 F. 3d 245, 250 (3d Cir.

 2000); In re Cybergenics Corp., 226 F. 3d 237, 244 (2d Cir. 2000)(stating that “the debtor in

 possession is similarly endowed to bring [avoidance] claims on behalf of, and for the benefit of,

 all creditor”); In re Sweetwater, 55 B.R. 724, 735 (D. Utah 1985)(avoiding powers are meant to

 benefit creditors generally and promot equitable distribution among all creditors); see also



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 Official Comm. Of Unsecured Creditors v. Goold Elecs. Corp., 1993 U.S. Dist. LEXIS 14318, at

 *12 (N.D. Ill Sept. 22, 1993)(vacating financing order “to the extent that the order assigns to the

 bank a security interest in the debtor’s preference actions”).

    13. The UST suggests that Debtor should adequately address and incorporate resolutions to

 the UST’s objections in any proposed Final Order. The UST will endeavor to communicate with

 Debtors and Lincoln to achieve consensual terms and resolve the UST’s concerns.

    14. Because the UST has not had an opportunity to review Debtors’ schedules and

 statements, and absent a more thorough assessment of Debtors’ assets, the UST reserves all of

 his rights in to further raise objection to the request for cash collateral and in connection with

 entry of any Final Order.


                                                        James L. Snyder,
                                                        Acting United States Trustee
                                                        Region 12

                                                        By:/s/ L. Ashley Wieck
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                                 CERTIFICATE OF SERVICE

 I certify that a copy of the foregoing document was served electronically on parties who receive
 electronic notice through CM/ECF’s notice of electronic filing dated January 11, 2022.

 Parties receiving hand or mailed service:

        N/A
                                                                   By:/s/Shelly W. Fellner
                                                                   Shelly W. Fellner
                                                                   Legal Clerk
                                                                   United States Trustee’s Office




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